Case 1:13-cv-00884-PAB-KMT Document 80-5 Filed 10/22/14 USDC Colorado Page 1 of 5

                                                                       Exhibit 5
Case 1:13-cv-00884-PAB-KMT Document 80-5 Filed 10/22/14 USDC Colorado Page 2 of 5

                                                                       Exhibit 5
Case 1:13-cv-00884-PAB-KMT Document 80-5 Filed 10/22/14 USDC Colorado Page 3 of 5

                                                                       Exhibit 5
Case 1:13-cv-00884-PAB-KMT Document 80-5 Filed 10/22/14 USDC Colorado Page 4 of 5

                                                                       Exhibit 5
Case 1:13-cv-00884-PAB-KMT Document 80-5 Filed 10/22/14 USDC Colorado Page 5 of 5

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